Case 2:19-cv-16719-ES-CLW Document11 Filed 12/10/19 Page 1 of 2 PagelD: 56

PRICE,
MEESE,

SHULMAN &
D’ARMINIO

A PROFES@IONAL CORPORATION
ATTORNEYS AT LAW

50 TIGK BOULEVARD, SUITE 380
WOODCLIFI LAKE

NIEW JERSEY 07677
TELEPHONE (201) 391-3737
FACSIMILE (201) 391-9360

WWW. pricenleese. COM

GREGORY D, MEESE*
GAIL L. PRIGE*+
FREDERIC M. SHULMAN* +
LOUIS L. D’ARMINIO* ©
JOHN R. EDWARDS, JR.*
MICHAEL K, BREEN*
PAUL A. CONCIATORIF#
WILLIAM D. BIERMAN ®
CATHY J. POLLAK*
‘THOMAS G. MARTIN ®
JOIN 1. MOLINELLI*x

RICHARD M. FRICKE* +
MARK W. GREENE* 9%
KAREN F. EDLER ®

MIGHAELA, OROZCO* ®
RICK A. STEINBERG*®
DOROTITY A, KOWAL

JENNIFER M. KNARICLI* ¢

CRECORY K, ASADURIAN
RENEE A, FATOVIC*
JIENNIFER M. BERARDO*
JACQUELINE Is. ESPOSITO*
AARON COIEN
MICHELLE L. KRONE

* Also admitted in NY

+ Also admitted in DC

© Also admitted in PA

% Also admitted in CT

© Also admitted NY Fed Cis.
# Also LEED AP

x Bergen County Prosecutor (ret.)

Additional Offices:

+ WEST RED OAK LANE. SUITE 302
WHITE PLAINS. NEW YORK 10604
TELEPHONE (914) 251-1618
FACSIMILE (914) 251-1230

ONE GATEWAY CENTER, SUITE 2600
NEWARK, NEW JERSEY 07102
TELEPHONE (973) 799-8331
FACSIMILE (973) 755-2719

 

December 10, 2019
VIA CM/ECE

Hon. Esther Salas, U.S.D.J.

United States District Court

District of New Jersey

Dr. Martin Luther King Jr. Fed. Bldg.
50 Walnut Street

Newark, New Jersey 07601

RE: Dialectic Distribution, LLC v. YRC Freight
Case No. 2:19-cv-16719
Our File No. 29116

Dear Judge Salas:
We represent Defendant, YRC Freight in the above referenced matter.

We respectfully submit this letter in connection with the December 10, 2019
Initial Conference before Federal Magistrate Judge Waldor. This case arises from
allegations of damage to cargo transported in interstate commerce by a Federally
authorized motor carrier. The case is governed exclusively by the Carmack
Amendment to the Interstate Commerce Act, 49 U.S.C. § 14706 (“Carmack”).

On November 5, 2019 we filed a Motion to Dismiss the Complaint [Docket
Entry No.: 5] inasmuch as it failed to plead a cause of action pursuant to Carmack
and thus failed to state a claim.

On December 3, 2019 Plaintiff filed Opposition to our Motion to Dismiss
[Docket Entry No.: 9] and filed a Motion to Amend the Complaint [Docket Entry
No.: 8].

We reviewed the Amended Complaint attached to Plaintiff's Motion to
Amend [Docket Entry No.: 8] and based thereon, it appears the Plaintiff dropped the
state-created causes of action and now pleads a cause of action pursuant to Carmack
and only Carmack.

As we indicated to Federal Magistrate Judge Waldor during the December 10,
2019 Initial Conference and while reserving all other substantive and procedural
rights, we write to respectfully advise the Court we withdraw our Motion to Dismiss
[Docket Entry No.: 5] and we consent to Plaintiff filing the proposed Amended
Complaint attached to their Motion to Amend [Docket Entry No.: 8].

 

Our 25" Year
Case 2:19-cv-16719-ES-CLW Document11 Filed 12/10/19 Page 2 of 2 PagelD: 57

PRICE, MEESE, SHULMAN & D’ARMINIO
APROFESSIONAL CORPORATION
ATTORNEYS AND COUNSELORS

Assuming the foregoing is acceptable to Your Honor and assuming Plaintiff formally files the
Amended Complaint attached to its Motion to Amend [Docket Entry No.: 8], we can then file our
Answer and Defenses pursuant to the Rules of Court and the case can proceed accordingly on the
merits.

We thank the Court for its time and attention to this matter.
Respectfully submitted,
PRICE MEESE SHULMAN & D’ARMINIO, P.C.

Wiles Morme—

Thomas C. Martin

TCM/eh
ce: Hon. Cathy L. Waldor, U.S.M.J.
David J. Rubenstein, Esq.
